Case 1:20-cv-05861-EK-JRC Document 46 Filed 09/14/22 Page 1 of 10 PageID #: 160


                                                                                       ^^®I/£DINPR0S£0FFIC(
       i.
                                                                                             SEP ) 4 202?
       u            S-TATSs            Ci>IMT
            s TJSAAf htSTfiXc? 6PAI£V\l VORK
       ^ TT' 1 1^  ...- . ■ .                    -     " -nl^^jc.r,>tr».
        o AJj£ SABtno,                                                      '\'ot/i^&. 0(^ MoriiOil
            :                                           PhbHff               X/7 OPf'osi iion Tb
                                                 /                '          £>tPi^ch.r?A's Moil 0
                                                                            "5 CiiS^itS^ f*urso^i\
        ■7^'"'?6S OSi^-jt-A aij                                            /wfc/.R.CiV, F»r«c< :
                                                                            ^O-CV-S0I/
                   ■                                    ^■&Kn<^PAh
       ^0                              /l /i 1               A                                ^'ituA
      2"         Aii(j. OA
                        _ ...bii'iO
                               .    SLffi'"^/ '.'ncMr />, n                                    Pa r^i/lrr
                       aul ,S a A /'J t> S.iy^ Tha i'fi: ot" r / /• 7^:4^                         )/a iS/1 V/V
     ■&ci!/ih mP
               f)<J ra                                          -
                    ro:s p'T.r.-'^ pit lly S jl\'>/Jr ■ 'Phi.^ i^Jf:r.Ti-tiHon ip ■ -
    pPPos//h/}Y2iPi^,^,
             f) *7^ Ta Pi rJ^Pi/                               >» 7,-j                  .               cw„>,^,
                                                                           ^ Jvi7XX P(AtS KJ PuP-J' 7rt ^/.<
    III iltx:/C^), c/si&i A<t3>r:' i                               end ftcni ttd k'j PirnnLPPc t1
     UiiOi.IrL    i,i-\ II   .    ^                                                ■    "■    ^             I




                                           fSOQ Co urj- t* ^OC               «£✓?Vr^j /                  ^&/€:')J'f!!\^
   ^J^n^^is C^^}ei'7 Cf3^nt(s')Toh                                       ti/'^et wBH oPpo$a,d M
                 'hifp/'/ OP A/o\/ejy)^B r                                 C'.^'c ^Th/a/ ^c'cXre7'£nf/y
  |. Thrs Cour-f on Fkbio^,.^ o'^p;xo37) iieU
  Pr&-Mc>Pan Cenfcrt:nc&. Ps,-^h.B.!&)             P>(i.fenc/-S O ip J'amas-
  Qjla.'5 f^f/f.''^'Aitorn&> qsLJAa. r&coedMr. b svrJ v. CpLj. qT-J
                                      Asd                      deid ~?2~PZsA '^'p/BhJt&PA
                                 PjAa%<9                                      /             ^^£gk-£p.^^2^-

           ;1                                        %'/pt
                                      ^''' < ■'■< ^^Ai oiis OJ&rtk iv, adA.                                                .
                                                                                                                ■'<3 /<?


                                                                                                                    i;7
Case 1:20-cv-05861-EK-JRC Document 46 Filed 09/14/22 Page 2 of 10 PageID #: 161




                                   Mohoio                    Opfos,/■ , jr, "J^o 2> ej-en c/^iO\ ,
            f^ii^// To hism'/ss f ur^usrrt lo J^yj^, /^ ( l) fi)6/(/ S
             /-ad-R. dy.V^cc. . ^O-cv- ^QSI C£^)aft<) ^                                                                T

                 TQ/^i,o/7 c.p A'j/& 5~,-if6)'>PF&J. K.c',v.}r(}c. fPr f •■•Js
              e>VPi,ort:, from r£:yac-/;;v?                   -beFrndf^f
                      '.   C/       On of A/t d rli uj fdUm e ^ f'\
        izd h:f'i h-oMeu Yor/cJls.^^ P<d i;,L4£^Aii.yo caFr^ri th:r,r,, ^t
                   f- 'Ca I. e^n d'., Fed Jone                         , 7 frndscUA' 0^ tfP^r V
         r^ d ^ c        d f j ihit' /               'f' f. ""     I        //                    «•'/      fpy        y
                                                                                                                        t_'




          i^ f jJ (J- /\fjU.- YotK Ct'p* \-^'''^ ^ '''^ r^''? } i>f              J/' f C:C i. 0 Y) C li f         J'
         S'X'K J'^d CiiSYi                           '^'•0 hurr-ih^t' -ihdf / ? ^jJ^SJL.L t-
        2inA       -/Aa J^^er^oA/'s                                  -
                     iST/-) VA/fs s,A(j^A.<jo,                                                                         r -A -
    JC'fMBS GViB, ^ i^i            y ^/'/h ^ YQ^rJ 3tC^t. Of 7
         w ' y'c' O C. B C d't jIQ y! ^<ja/<           •^'
    •L30 '                ^                                                      (>/?; er C rB J/ 7ed 7^::^
           y fj       f^\'G"''" '•''''    ^'''^'^'' '^iL?               T                  ^^                      A "
    "crh V-. VS'-' P" dfk ro.7.1. rc* )^9 <e^io Tiftm M'fWjJ
        V'/■:?'' '•■•'■■V.j J'kp.-ifYfs /l/fiTd^d Cu/vpMi nj- c/^^-ledfJune.

   A/>'ji' /'Aiq/d A&.\jo d a i id'"' H-'di-'-'J /-'o n i i'U noo                                 jpeJ
                                hj f" ■ '' /::-             '■-y        bp\/:d /. *-h c-i^y.
     0^fr/ich,p4, jorni^ -^ 0<^j/B       J 7>t. he/d    C'onieMjoi.
       J 5-                 'Stoves df/S Coo/r i'' t7\(trc,s& r/s cfu-,^,,on-
  ^' nd JdsiJ^j^ T/r/c              -''dij, mi                 ^€fen dsnd ~
                                                                                                                       'v;r^

                               Cv/ / r,oci.^y&                               S,,od^TelePj3onk: Pr^.o/"                     -




            —7" d&cl!ir& unJef P^i^ihli of /^rju (7 -li'(^ 1                                                  '''^
  D ^-kd: Ad^oii F}fFio:iFi                                                 ^J)
   £,             d-/rMi/'Si. fdd-            p                        <aul 5i!(biV\o, Kl21in;ITvt-
  l^l-r./2Cli fekn ^ I "hi Finh^ MudFott                               E-e1mIivj»s^             II 3t ^
  Z/i OpftiHi''^                         lp,qA 3 i" ->
Case 1:20-cv-05861-EK-JRC Document 46 Filed 09/14/22 Page 3 of 10 PageID #: 162
Case 1:20-cv-05861-EK-JRC Document 46 Filed 09/14/22 Page 4 of 10 PageID #: 163
  mr.,« p,. hxk.,,™                                                              ^
                                                                                       PAGE   S

  FHOM» PAROLE
  FROM* PAPni^e'^UTS?^^ DEPARTMENT
                VIOLATION  UNIT           OF CORRECTIONS
                                                       •
  RE*      RESULTS OF PAROLE REVOCATION HEARING


 " " * • " "'•' '' • •!
 hearing DATE* 06/19/2019
 HEARING LOCATION* RIKERS ISLAND
 NAME*. SABINO,SAUL
 WARRANT* 080309.6
 NYSID*      010525078
 B fc C*     141-19-05106                                               *
 PO*    HI.BBERT,TAMEKA                                            niiTernr
                                                               * T" , I ,
                                                          revocation HEARine LISTED AROvi ^
             '''   / PROBABLE CAUSE FQUND .
                           PROBABLE CAUSE NOT FOUND; WARRANT LIEtED
                       )
             ^—r-/ CASE ADJOURNED TO

             ^—y WAIVED HEARING ON RECORD



•NOTICE TO ATTOR^|EY OF ADJOURNMENT DATE*
             /-i-V HAND DELIVERED.ON                           '
            /      / MAILED ON

NOTICE TO PAROLEE OF ADJOURNMENT DATE*
            /—/ hand .DELIVERED ON
            /      /    HAILED ON

                                            * *• *    «    «       if       if   s   ^ * * * *
SIGNATURE
                                                  titIe,
                                                   date, k hrilfZ
                                      * * *LAST PAGE* * «




                   '?
     Case 1:20-cv-05861-EK-JRC Document 46 Filed 09/14/22 Page 5 of 10 PageID #: 164



                                 i>t^riK)cTcOuKT
                   i>iStKtcr        OP Nf:W rai>/r>^JC
                      tm "iHiinnw^Biiiy wimii  nn ^ i.-^l,^

         SAul SA&)HO                                             No h'ct of^ /?t pt'A 7J»
                             ^        mrniii'f.                  tz./f^&.f      u//: /v]r
              - <5 5'sf7v>5V                                    ^ehri<i&oi Ct+Y«/"fit,M
     C/Vy o/,\Jti4yHKj^                                        (bTii)^
     -
             ^Lj
              •'         J
                                   ^vftilyh^s^  W   »
                                                                ko-cs/'5gB!(m(r/(c)
     -n -Thi                     <f7U U?^jUT                           C>i'if»c4-CouYi /o^
             £.&S             jT^lsinc-T'                     /JeLij fotK
    at ji- ^/'''^'                o' Pfsu'-Aiff humaiY r' ei1li^&$7s "ihaiiJt& CltiA'
    yor/c Per iPi/ijY& -f-o AfegV ar Dih&rujtsri^                                         / >-   i„
   N^nn&r, as PrcvNtP /.- p %                                                                    T
   QPavfrProct<iori^ ,"" "•'                                                       PAtrPl^o'^
   o_ i 77"'i
  ^ ^ul
                                     rs ^As&p qy{ 7bii Y[ii.s.f.h&JAi'firryts-iion
                             tAjhich -^^oufs *
    ^'i Cariy^lSJnP'fN&c/
 twtna&f        Ctby of Noifj y«rA^ UJas S&rv^J
                           7or>&aa.£i<iZZ       '<ji4h PA/fiiiT's
                                              B-octrs   4S&N'C<t
 ur a^-^~ XF>^yr]'^irrSk tkZLZ,                                                   tgr     , e^r C.
     5.                            S&rvic^ fikJ UJt'ib -AA/S C<>iyr-4 on
 €iSi7Xbli^be.S 7hii S^T^ic-e.                                  proptr pors-^mi 7^ /tuZ/WC4j<■s
 "tht P6dtrni piflts of C',^i\ Prot-O Jur^,    \                  '- j
    3. Ciii ApblciMyorJi hsi f-aiJ^o/fo P/&7>'jor (hlm^<'tJ'iss. Ysspo.'tI-
fo fbo Phir)Pff's'''^Ary)ert(!k:e/CorytP/9i>rJ"ifA&<^-7^e>(^^3,SQ2S
       7f>%. T»PPhc9$io. -p/m& fiMti' P^r      sponf/rt7 bus ^)(.picp,
21s of A <oyosY /p.:!Q 2X. OrJttr Py:j,<b^tH<ifi.^ruR.Piim,'fp&',.

CoXt^'pP'r7,f.*'
         .             JJj
                                                                    ''''' « '"fN.r ^,y,
   6.                        C:4yr^P A'4c.j /arK
                                            j"   /j mir /n />7A7f'igtKy
                       ^.f
                       '■{




                                                    ^ f •?
Case 1:20-cv-05861-EK-JRC Document 46 Filed 09/14/22 Page 6 of 10 PageID #: 165




          A/few >.-,'5r re-,j'. ?.Civ.T> 55/3)s/ibKi;)'::iP'<M-5Ul                                                     H.
                                                                                                                        )i*k)
             ■




                 i
                           ^(^'fi^ds4 a PitPzzUli' J
                            >            y        j    4    i                                  ^     ^

  &/? Vfireio/^ F>y   QJ&r/i;. S/nc& duf/DTuS^^
Sum c.e.r-h&Tn''' //)
  1». j » "i "**" T'Wy.wjriaasSiSr-s^^
                                       ojH-h fh'i K Ci^.fF<"
                                             J                      *"                                       •

                       »' ■a#i                             's ft)! joy it Vo ■pi                Si 'ft/Ti&iy
y=& r>P' 077 >-v>^                                    y mJ ^&ppn <*' Pa. y R<jle S'^( a) -
Bn-f/Pia-y p/sti ni'if to h6.TtiuH jo4^rf,ani Jst en J&tT^i
py -irha CFs,rA upo^ fjaintpf' rafotsi;
                                                                                                                 crJ,



                                                                                  Ppcrp U-jpiUfnP Jj
                                                                         6. V /    ? <? ^
                                                                                        If I/ 7/ o
                                                                                              71 U       >       fi
                                                                                                                 f-f

                                                                    /G^ /S                               S/rZ.-t.'^
                                                                                                         Asi Iii90
                                                                     /za m ■:iio




                                                 psjt Si <if-^ ^

                        y
 Case 1:20-cv-05861-EK-JRC Document 46 Filed 09/14/22 Page 7 of 10 PageID #: 166




UN\-TB(i STAT<£S b>l$TftlCT cau^T
^ST£M                  oc         yoRk
 Sau'i SA&livb.              '              Affirm^ii'anTn 5w?forf

 C"ty oh Nfiu^Vork ,                                           To T
                   £HfM«|-ar,4s.             -20«CV-5*a6l/£A)/'Ji?<')
                        I                                    W'*-' »

                vr/yTZL.    y-/VA7 O-P iS^u/ SdJf/'nc
       JOj spu/^y^A
       CP P^rJury ihM:
       1* Xij S»ul Sahjyio 27>»7 4h&. r/'£)n.                                   fy.A\ f/
                                                                                      •/
                                                                                      /
        a hav& &n pP(4to ,2?^                       ^f*1cy     sfioA Hx/Up }
         r^ov& i-/ijs CourT                                                 /^or/f'7
        C>&f-&iOc/atTi CT-f-y        A/tu/Yot Jkf UjAo                 ff ^ P'
       ^ t'tn&^y y^sPo/)$rvei pjasac/in^
       ntt/ts                  5^J^7ay,cjih)ajTirmam^n
                     CI vIj PfroC-t-t^ui^ ^           P
               'h                             ^


        3« Qyi or^ly 05tSoa^ PJsTioy/'Pf^j                                        "
        Co^f^/ajnT d^y^d 0/ort^ as > ^ oa^
                               Aeftndnni Cliv op AJ&uj yotk;.
        po           'Sr cV M^X1if7;J. PtocP:
                            Aman^iad CoJJp/^r^^ ok
                                                                                   •r.
         :.'SiC^vvf1                     ^
                               Pop)cJT/7^ -^o
                                                                            a^;L
                                                                           A/nJ^'j\ I
        tiooe^ For lUFonJon-f arFv e>f a/ouj yot/r                               .,',.r
                                                                                      ') I
                                                                                    Oil'-W


                    ^XYen<y^o/                      ._!.•              z    ■
                                                  ^.Cout^p
                                psi.3^-t<if" Bilo
Case 1:20-cv-05861-EK-JRC Document 46 Filed 09/14/22 Page 8 of 10 PageID #: 167




                        X/? SuppoH- oP              To B.n I/&r
        ^&r^u/ip ■Foyl>tf'tr\clsni Ci-fn crfAJi^uj)^otK 75»
        Ftd. fi.civ^'Proc. '55U)s^(b)^i), 5o-cv'5041/ir ri




        una&Y- Tjt/,ja /ercuS ot                Sii.
                        Principal p/^ct
        -t-ht f;-py eP" aJ^uj yo^A••


             FUThirPP)                                 znd rapu6.s'f A
     S,fjc.£^ c/sflf}Z.9&S                             C&T/BfP/P^n J " ^
     pcco)-danc& ujjpj^ Pu/a. ^S^(b)ay^FF^AP~F\, T>^ /^. ''?,T




      FBTiurt f ^'^fFendnn-^d^.^y                                             )(4,k
                   TuHh^y         Js i                                     ox 5,u.h~
       Proper.    9
                                              ^                    .   -
                                                                           Jvsi:,i'AL
                                                                                  .1   1




                                                                              I




                                           ^ of S
Case 1:20-cv-05861-EK-JRC Document 46 Filed 09/14/22 Page 9 of 10 PageID #: 168
                    f




               ■)




             f^MUht:f:Qrl>tf&n<ilaniCrH oPAl^ui yotk ^ 4
                         C/v. Proc* ^S(a)Sa!ly^ix^
               * ^




          ^ f S:^ul Sa i'lho ^hih'iri'ff                            i/nd-tY
          P&rtTij-ty of PerjUty                          -foy&SoinJ Ts
        -vru^^ ant^ Cort^ci,

        ^               SahYj^i AuSus-/ 5:yM 20:^^
NOrxf •         ' Sas-f Btfnhuts^ f^^io/OY/Z             -rj       .n ,
i>^n l^^ y.h,kc ^^,X1 toy h i>t -                     Jh^ C
 M?ii) io                  S.'P:^. on -SameMfc- ^Ii) c


    • J^®^'n£/R»i4-J5jr,fe$ 05 'vA+iy,
 hAu Aniv"euj'felahc?{-|-o
 My. A           A^^^iney 6eh«(«t| -

1                           E.b.w.y.(4MjC»rt)
                                         5 tfp 3.
                 Case 1:20-cv-05861-EK-JRC Document 46 Filed 09/14/22 Page 10 of 10 PageID #: 169




                                                                         t-atL          LUUU          UL.UC    TLUC.

Mr.Saul Sabino .t/C #349-210—1344
A.h.K.C. NYC Dept. of Correctioin
18-18 Razen Street
East Elmhurstj NY   11370
Rousing Unit QuadUpper 13-24CeI]:

                                          ■4'-,
                                                      i/• vi ^
                                                                 f^aNpaaiiodlVQ
                                                                                     iSB
                                                                                     loai^sadadv.NUfusu':
        A/-                           m                          uSaju jajii' pi Hdon 3AN3?^p!^dO^^
                                                                                                                           1
                                                                 Attn#: Clerk of the Court
                                                                 Honorable Eric R. Komitee, U.S. District rr>i.,-h i ^
                                                                 225 Cadraan Plaza East                                          EEast«„ District il.f!
URGENT LEGAL M
                                                                 Brooklyn, New York                                             11201




                                                                                                        U.S. POSTAGE PAID
                                                                                                                           NY




                                                                                                             $s.o? .
                                                  .rnirniirarg
                                                  fonSrSirwM#


                                                        1000                                                R2306Y152320        -43   li'P'ij'il'hhl'h
                                                                                       11201
